                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 TENNESSEE EQUALITY PROJECT                       )
 FOUNDATION, INC.,                                )
                                                  )
        Plaintiff,                                )
                                                  )    No. 3:23-cv-01044
 v.                                               )
                                                  )
 THE CITY OF MURFREESBORO,                        )
 TENNESSEE, et al.,                               )
                                                  )
        Defendants.
                                             ORDER

       Pending before the Court is Tennessee Equality Project Foundation, Inc.’s (TEP) Motion

for a Preliminary Injunction and Request for Expedited Briefing (Doc. No. 8). In accordance with

the parties’ representations during the telephonic status conference held by the Magistrate Judge

on October 17, 2023, the parties shall jointly notify the Court if they resolve the issues raised in

TEP’s motion and accompanying memorandum. If the parties cannot reach a complete resolution,

Defendants shall file their responsive briefs no later than 9:00 a.m. on October 20, 2023, and TEP

shall file any replies no later than 9:00 a.m. on October 24, 2023. The Court shall hold a hearing

on TEP’s Motion (Doc. No. 8) at 1:00 p.m. on October 26, 2023.

       IT IS SO ORDERED.




                                                      ____________________________________
                                                      WAVERLY D. CRENSHAW, JR.
                                                      CHIEF UNITED STATES DISTRICT JUDGE




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